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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        RYAN KELLY, et al.,
                                   7                                                      Case No. 13-cv-05837-SI
                                                       Plaintiffs,
                                   8
                                                v.                                        JUDGMENT
                                   9
                                        ELECTRONIC ARTS, INC., et al.,
                                  10
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court has dismissed the amended consolidated complaint without leave to amend.

                                  14   Judgment is hereby entered against plaintiffs and in favor of defendants.

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                                  16          IT IS SO ORDERED AND ADJUDGED.

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                                  18   Dated: April 30, 2015                                       ________________________
                                                                                                   SUSAN ILLSTON
                                  19                                                               United States District Judge
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